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UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA |

In Re:
MICHAEL J. CIACH
XXX-XX-8354

:CHAPTER 13
Debtor. ‘CASE NO. 24-12536-AMC

ATHENE ANNUITY AND LIFE
COMPANY

Movant,
Vv.

MICHAEL J. CIACH :
: Hearing Date: April 10, 2025 at 11:00 a.m.

Debtor,
And

KENNETH E. WEST,
Trustee,

Respondents.

MOTION OF ATHENE ANNUITY AND LIFE COMPANY FOR RELIEF FROM THE
AUTOMATIC STAY TO PERMIT MOVANT TO EXERCISE ITS RIGHTS UNDER
STATE LAW AGAINST CERTAIN REALTY KNOWN AS 3430 11"! STREET,
BROOKHAVEN, PENNSYLVANIA 19015
Movant, by its Attorneys, Romano Garubo & Argentieri, Emmanuel J. Argentieri,
Esquire appearing, hereby requests a modification of the automatic stay and leave so it can exercise
its rights under state law against certain realty and avers as follows:
1. Movant is Athene Annuity and Life Company, (hereinafier “Movant’).
2. On June 7, 2010, Michael J. Ciach executed a Mortgage in favor of Mortgage

Electronic Registration Systems, Inc. as Nominee for Universal Mortgage & Finance, Inc.

against the property known as 3430 11" Street, Brookhaven, Pennsylvania 19015, (“Subject
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Property”) in which the Debtor is the title holder. The mortgage was the assigned various times.
Ultimately, on March 7, 2021, said mortgage was assigned to Movant. See attached subject
note, mortgage and assignments, attached hereto.

3. Debtor’s Chapter 13 petition was filed July 23, 2024. Debtor’s monthly post-petition
payment amount was $1,152.17. As of December 1, 2024, Debtor’s monthly payment is $1,164.23 as
per filed notice of mortgage payment change.

4. Debtor should have made (8) eight payments outside of the plan since the date of
filing petition.

5. Since the date of filing; Debtor has only made (2) two post-petition mortgage
payments to Movant.

6. Debtor is behind (6) six payments outside the plan, through the payment due
March 1, 2025.

7. The total amount of delinquency outside the plan is $6,913.83
The amount is computed in the following manner:

2 times payment of $1,152.17 (10/01/2024 — 11/01/2024)
4 times payment of $1,164.23 (12/01/2024 — 03/01/2025)
Less suspense balance of (-$47.43)

Each Monthly Payment is comprised of:
Principal and Interest........ $888.69 -
ESCTOW,....cscssessessesesseesserees $275.54
TOTAL... cties $1,164.23

8. Pursuant to the foregoing, Movant is entitled to relief from the automatic stay due to the
foregoing default and because:
(a) Adequate protection of the interest of Movant is lacking; and

(b) The collateral is not and cannot be a part of an effective reorganization.
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Accordingly. Movant is entitled to relief from the automatic stay under 11 U.S.C. §362(d)(1)
and/or (2).

2. Movant has cause to have the Automatic Stay modified as to permit Movant to
commence foreclosure on its mortgage.

10. Movant has had to incur legal fees as a result of the prosecution of this Motion.

11. Movant has cause to have relief from the Automatic Stay effective immediately and
such relief should not be subject to the fourteen-day period set forth in Bankruptcy Rule 4001(a)(3), as
Movant wili incur substantial additional costs and expenses by the imposition of said fourteen-day
period,

12. The other Respondent is the Chapter 13 Trustee appointed in the above-captioned
chapter 13 proceeding.

WHEREFORE, Movant respectfully requests that the Court enter an Order which grants it relief
from the Automatic Stay, along with all other relief the Court deems just and equitable under the

circumstances.

Dated: March 10, 2025 By:/s/EMMANUEL J. ARGENTIERI
EMMANUEL J. ARGENTIERI

PA ATTORNEY ID NO, 59264
Attorneys for: Movant

ROMANO GARUBO & ARGIENTIERI
Emmanuel J. Argentieri, Esquire/59264
52 Newton Avenue, P.O. Box 456
Woodbury, New Jersey 08096

(856) 384-1515 - eargentieri(@rgalegal.com

